 Case 24-55036-jwc        Doc 23    Filed 06/07/24 Entered 06/07/24 15:08:02               Desc Main
                                    Document      Page 1 of 2
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                    Case No.:

         0,Ne,tn
                                                          Chapter:         1
              Debtor(s)

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Dated: t) 6 - 0-1     2J02,,cf       Signature:



                                     Printed Name:        COW' tAV.An 3i4 1/1


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     Case 24-55036-jwc         Doc 23    Filed 06/07/24 Entered 06/07/24 15:08:02               Desc Main
                                         Document      Page 2 of 2
                               UNITED STATES BANKRUPTCY COURT

                                 NORTHERN DISTRICT OF GEORGIA

                                           ATLANTA DIVISION


IN RE:   e_aivvvvem                                  Case No:      2 (-1 5-5o36-jwt
                                                      Chapter



              Debtor(s)

                                           CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the    day of   u      , 2021 I served a copy of

         Yotib                 u-forior
which was filed in this bankruptcy matter on the "1-1in day of     lAkil    , 20],c)




Mode of service (check one):                      MAILED            v acIAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):

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                       0 cc-a                 SOO S)
I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


Dated:   b                - 2023-i                    Signature:     C(1N              51177(
                                                      Printed Name:

                                                      Address:                   51A13Arook, P-0 'di
                                                                      \1         0        )



                                                      Phone:

(Generic Certificate of Service — Revised 4/13)
